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                           UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION


 THE TRAVELERS
 INDEMNITY COMPANY,

                Plaintiff,

 v.
                                                              Civil Action No. 2:08-cv-02649

 W.M. BARR & COMPANY, INC.,
 et al.,

                Defendants.


                                    ORDER OF DISMISSAL


        On March 6, 2013, the parties in this action filed a Joint Motion of Vacatur pursuant to

 Fed. R. Civ. P. 54(b) asking the Court to vacate three orders previously entered granting partial

 summary judgment. (DE 361, DE 369, and DE 377) The motion was granted. In said motion,

 the parties confirmed a settlement had been reached. As such, the Court orders this case

 dismissed with prejudice.

        It is so ORDERED on this 8th day of March, 2013.



                                                      s/John T. Fowlkes, Jr.
                                                      JOHN T. FOWLKES, JR.
                                                      UNITED STATES DISTRICT COURT
